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U NI T E D S T A T E S DI S T RI C T C O U R T
S O U T H E R N DI S T RI C T O F N E W Y O R K

----------------------------------------------------------------- X
                                                                 :
S T RI K E 3 H O L DI N G S , L L C,                             :
                                                                 :                       C as e N o. 7: 2 0 -c v -1 0 6 0 1 -C S
                                         Pl ai ntiff,            :
                                                                 :                       J u d g e S ei b el
                              vs.                                :
                                                                 :
J O H N D O E s u bs cri b er assi g n e d I P a d dr ess        :
9 8. 1 5. 1 9 6. 1 7 7,                                          :
                                                                 :
                                         D ef e n d a nt.        :
----------------------------------------------------------------- X

                             O R D E R O N M O TI O N F O R L E A V E T O S E R V E
               T HI R D P A R T Y S U B P O E N A P RI O R T O A R U L E 2 6(f) C O N F E R E N C E

 S EI B E L, D.J.:

            T h e C o urt h er e b y O R D E R S t h at Stri k e 3 m a y i m m e di at el y s er v e a R ul e 4 5 s u b p o e n a o n

 th e I S P of J o h n D o e s u bs cri b er assi g n e d I P a d dr ess 9 8. 1 5. 1 9 6. 1 7 7 ( h er e aft er “J o h n D o e ” or

 “ D ef e n d a nt ”) t o o bt ai n i nf or m ati o n t o i d e ntif y t h e D ef e n d a nt, s p e cifi c all y his or h er n a m e,

 c urr e nt a n d p er m a n e nt a d dr ess. Stri k e 3 is e x pr essl y n ot p er mitt e d t o s u b p o e n a t h e I S P f or t h e

 D ef e n d a nt’s e m ail a d dr ess es or t el e p h o n e n u m b ers.

            It is f urt h er O R D E R E D t h at Stri k e 3 s h all s er v e a c o p y of t his O pi ni o n a n d Or d er as w ell

 as t h e att a c h e d “ N oti c e t o D ef e n d a nt ” al o n g wit h a n y s u b p o e n as t o t h e list e d I S P.

            It is f urt h er O R D E R E D t h at t h e I S P will h a v e 6 0 d a ys fr o m t h e d at e of s er vi c e of t h e

 R ul e 4 5 s u b p o e n a u p o n it t o s er v e J o h n D o e wit h a c o p y of t h e s u b p o e n a, a c o p y of t his Or d er,

 a n d a c o p y of t h e “ N oti c e t o D ef e n d a nt. ” T h e Or d er s h o ul d b e att a c h e d t o t h e “ N oti c e t o

 D ef e n d a nt ” s u c h t h at t h e “ N oti c e t o D ef e n d a nt ” is t h e first p a g e of t h e m at eri als e n cl os e d wit h

 t h e s u b p o e n a.    T he I S P       m a y s er v e J o h n       D o e usi n g a n y r e as o n a bl e         m e a ns, i n cl u di n g



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writt e n     n oti c e s e nt t o his or h er l ast k n o w n a d dr ess, tr a ns mitt e d eit h er b y first cl ass m ail or vi a

o v er ni g ht s er vi c e.

            It is f urt h er O R D E R E D t h at J o h n D o e s h all h a v e 6 0 d a ys fr o m t h e d at e of s er vi c e of t h e

R ul e 4 5 s u b p o e n a a n d t his O pi ni o n a n d Or d er u p o n hi m or h er t o fil e a n y m oti o ns wit h t his

C o urt c o nt esti n g t h e s u b p o e n a (i n cl u di n g a m oti o n t o q u as h or m o dif y t h e s u b p o e n a), as w ell as

a n y r e q u es t t o liti g at e t h e s u b p o e n a a n o n y m o usl y. T h e I S Ps m a y n ot t ur n o v er t h e i d e ntif yi n g

i nf or m ati o n of J o h n D o e t o Stri k e 3 b ef or e t h e e x pir ati o n of t his 6 0 – d a y p eri o d. A d diti o n all y, if a

D ef e n d a nt or I S P fil es a m oti o n t o q u as h or m o dif y t h e s u b p o e n a, or a r e q u est t o liti g at e t h e

s u b p o e n a a n o n y m o usl y, t h e I S P m a y n ot t ur n o v er a n y i nf or m ati o n t o Stri k e 3 u ntil t h e iss u es

h a v e b e e n a d dr ess e d a n d t h e C o urt iss u es a n or d er i nstr u cti n g t h e I S P t o r es u m e t ur ni n g o v er t h e

r e q u est e d dis c o v er y.

            It is f urt h er O R D E R E D th at t h e s u b p o e n a e d e ntit y s h all pr es er v e a n y s u b p o e n a e d

i nf or m ati o n p e n di n g t h e r es ol uti o n of a n y ti m el y fil e d m oti o n t o q u as h.

            It is f urt h er O R D E R E D t h at a n I S P t h at r e c ei v es a s u b p o e n a p urs u a nt t o t his Or d er s h all

c o nf er wit h Stri k e 3 a n d s h all n ot ass e ss a n y c h ar g e i n a d v a n c e of pr o vi di n g t h e i nf or m ati o n

r e q u est e d i n t h e s u b p o e n a. A n I S P t h at r e c ei v es a s u b p o e n a a n d el e cts t o c h ar g e f or t h e c osts of

pr o d u cti o n s h all pr o vi d e a billi n g s u m m ar y a n d c ost r e p ort t o Stri k e 3 .

            It is f urt h er O R D E R E D t h at a n y i nf or m ati o n ulti m at el y dis cl os e d t o Stri k e 3 i n r es p o ns e

t o a R ul e 4 5 s u b p o e n a m a y b e us e d b y Stri k e 3 s ol el y f or t h e p ur p os e of pr ot e cti n g Stri k e 3’s

ri g hts as s et f ort h i n its c o m pl ai nt.
                                              1 2t h           J a n u ar y
            D O N E A N D O R D E R E D t his _ _ _ d a y of _ __ _ _ _ _ _ _ _ _ _ _ _ _ _, 2 0 2 _ 1_ .



                                                      B y: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
                                                              H o n. C at h y S ei b el, U. S. D. J.
                                                               C A T H Y S EI B E L, U. S. D.J.
                                                                      2
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                                                N O TI C E T O D E F E N D A N T

            Y o u ar e a d ef e n d a nt i n S T RI K E 3 H O L DI N G S, L L C v. J O H N D O E s u b s cri b er assi g n e d
I P a d dr ess 9 8. 1 5. 1 9 6. 1 7 7. 7: 2 0-c v -1 0 6 0 1 -C S, a c as e n o w p e n di n g b ef or e t h e H o n or a bl e C at h y
S ei b el, U nit e d St at es Distri ct J u d g e f or t h e S o ut h er n Distri ct of N e w Y or k. Att a c h e d is J u d g e
S ei b el’s Or d er, d at e d _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ w hi c h s ets f ort h c ert ai n d e a dli n es a n d
pr o c e d ur es r el at e d t o t his c as e.
            Y o u m a y hir e a l a w y er t o r e pr es e nt y o u i n t his c as e or y o u m a y pr o c e e d pr o s e (t h at is,
y o u m a y r e pr es e nt y o urs elf wit h o ut t h e assist a n c e of a l a w y er). If y o u c h o os e t o pr o c e e d pr o s e ,
all c o m m u ni c ati o ns wit h t h e C o urt s h o ul d b e t hr o u g h t h e Pr o S e Offi c e of t h e U nit e d St at es
Distri ct C o urt f or t h e S o ut h er n Distri ct of N e w Y or k. T h e Pr o S e Offi c e is l o c at e d i n t h e H o n.
C h arl es L. Bri e a nt Jr. F e d er al B uil di n g a n d C o urt h o us e, 3 0 0 Q u arr o p as Str e et, W hit e Pl ai ns, N Y
1 0 6 0 1, a n d c a n b e r e a c h e d at ( 2 1 2) 8 0 5 -0 1 7 5 or ( 9 1 4) 3 9 0 -4 0 0 0.
            T h e P l ai ntiff i n t his c as e, Stri k e 3 H ol di n gs, L L C, h as fil e d a l a ws uit cl ai mi n g t h at y o u
h a v e ill e g all y d o w nl o a d e d a n d/ or distri b ut e d o n e or m or e m o vi es o n y o ur c o m p ut er .
            T h e Pl ai ntiff m a y n ot k n o w y o ur a ct u al n a m e or a d dr ess, b ut it d o es k n o w t h e I nt er n et
P r ot o c ol a d dr ess ( “I P a d dr ess ”) of t h e c o m p ut er ass o ci at e d wit h t h e all e g e d d o w nl o a di n g a n d/ or
distri b uti n g. T h e Pl ai ntiff h as fil e d s u b p o e n as r e q u esti n g y o ur i d e ntit y a n d c o nt a ct i nf or m ati o n
fr o m y o ur I nt er n et S er vi c e Pr o vi d er ( “I S P ”).
            If y o u d o n ot w a nt y o ur I S P t o pr o vi d e i nf or m ati o n t o t h e Pl ai ntiff a n d y o u b eli e v e t h er e
is a l e g al b asis f or t h e I S P t o wit h h ol d t h e i nf or m ati o n, y o u m a y fil e a m oti o n t o “ q u as h ” or
“ m o dif y ” t h e s u b p o e n a. T his m ust b e d o n e wit hi n 6 0 d a ys of t h e d at e t h at y o u r e c ei v e n oti c e
fr o m y o u I S P t h at y o u ar e a d ef e n d a nt i n t his c as e.
            E v e n if y o u d o n ot fil e a m oti o n t o q u as h or m o dif y t h e s u b p o e n a, y o u m a y still pr o c e e d
i n t his c as e a n o n y m o usl y at t his ti m e. T his m e a ns t h at t h e C o urt a n d t h e Pl ai ntiff will k n o w y o ur
i d e ntit y a n d c o nt a ct i nf or m ati o n, b ut y o ur i d e ntit y will n ot b e m a d e p u bli c u nl ess a n d u ntil t h e
C o urt d et er mi n es t h er e is n o b asis t o wit h h ol d it.
            If y o u w a nt t o pr o c e ed a n o n y m o usl y wit h o ut fili n g a m oti o n t o q u as h or m o dif y t h e
s u b p o e n a, y o u ( or, if r e pr es e nt e d, y o ur l a w y er) s h o ul d m ail or f a x a l ett er a d dr ess e d t o J u d g e
S ei b el, 3 0 0 Q u arr o p as Str e et, W hit e Pl ai ns, N Y 1 0 6 0 1 (f a x n u m b er 9 1 4 -3 9 0 -4 2 7 8) st ati n g t h at
y o u w o ul d li k e t o pr o c e e d a n o n y m o usl y i n y o ur c as e. T his m ust b e d o n e wit hi n 6 0 d a ys of t h e
d at e t h at y o u r e c ei v e n oti c e fr o m y o ur I S P t h at y o u ar e a d ef e n d a nt i n t his c as e. Y o u s h o ul d
i d e ntif y y o urs elf i n y o ur l ett er b y t h e c as e i n w hi c h y o u ar e a d ef e n d a nt an d y o ur I P a d dr ess. If
y o u s u b mit t his l ett er, t h e n y o ur i d e ntit y a n d c o nt a ct i nf or m ati o n will n ot b e r e v e al e d t o t h e
p u bli c u nl ess a n d u ntil t h e C o urt s a ys ot h er wis e.




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